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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CASE NO. 21-CR-303
                                                  :
              v.                                  :    MAGISTRATE NO. 21-MJ-554
                                                  :
 MICHAEL JOSEPH RUSYN,                            :    VIOLATIONS:
                                                  :    18 U.S.C. § 1752(a)(1)
            and                                   :    (Entering and Remaining in a Restricted
                                                  :    Building)
 DEBORAH LYNN LEE,                                :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                       Defendants.                :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Violent Entry and Disorderly Conduct in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)


                       SUPERSEDING INFORMATION


       The United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOSEPH RUSYN

and DEBORAH LYNN LEE did unlawfully and knowingly enter and remain in a restricted

building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the

United States Capitol and its grounds, where the Vice President and Vice President-elect were

temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))
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                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOSEPH RUSYN

and DEBORAH LYNN LEE did knowingly, and with intent to impede and disrupt the orderly

conduct of Government business and official functions, engage in disorderly and disruptive

conduct in and within such proximity to, a restricted building and grounds, that is, any posted,

cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

the Vice President and Vice President-elect were temporarily visiting, when and so that such

conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOSEPH RUSYN

and DEBORAH LYNN LEE willfully and knowingly engaged in disorderly and disruptive

conduct in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly

conduct of a session of Congress and either House of Congress, and the orderly conduct in that

building of a hearing before or any deliberation of, a committee of Congress or either House of

Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                      COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, MICHAEL JOSEPH RUSYN

and DEBORAH LYNN LEE willfully and knowingly paraded, demonstrated, and picketed in any

United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))

                                           Respectfully submitted,

                                           CHANNING D. PHILLIPS
                                           Acting United States Attorney
                                           D.C. Bar No. 415793


                                   By:     /s/ Michael J. Romano
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